Case: 1:19-cr-00277 Document #: 50 Filed: 05/18/20 Page 1 of 4 PageID #:162




                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

   UNITED STATES OF AMERICA                         )
                                                    )
   Plaintiff,                                       )
                                                    )
   vs                                               )     Case No. 19 CR 277
                                                    )
   CONCEPCION MALINEK,                              )     Judge Edmund Chang
                                                    )
   Defendant.                                       )

           DEFENDANT’S MOTION FOR EMERGENCY FURLOUGH
            OR ESCORTED TRIP TO ATTEND FUNERAL SERVICE

          NOW COMES the defendant, CONCEPCION MALINEK, by and through her

   attorney, ROBERT L. RASCIA, and moves this Honorable Court, pursuant to 28 CFR

   §551.109(a)&(b), to grant her an emergency furlough to attend her mother’s funeral.

          In support thereof the defendant states as follows:

          I.      DEFENDANT’S PENDING MOTION TO REVOKE DETENTION

          The Defendant filed an emergency motion to revoke her detention order on

   May 14, 2020. This motion remains pending. A briefing schedule has been set, with an

   upcoming status hearing scheduled for May 22, 2020. As stated in the pending motion,

   the defendant’s mother, Manuela Macz Seb de Pan, died at Loyola Hospital in Maywood,

   Illinois on May 12, 2020. The defendant’s father is a terminally ill patient at MacNeal Hospital

   in Berwyn, Illinois. The defendant now requests an emergency furlough to attend funeral

   services for her mother which will occur before the determination of her pending motion to

   revoke her detention order. Alternative to this narrow prayer for relief (temporary furlough),

   the defendant still maintains that she is entitled to revocation of her detention order as

   requested in her pending motion to revoke detention.

                                                   -1-
Case: 1:19-cr-00277 Document #: 50 Filed: 05/18/20 Page 2 of 4 PageID #:163




           II.     THE DEFENDANT REQUESTS EMERGENCY FURLOUGH
                   TO ATTEND FUNERAL SERVICES FOR HER MOTHER

           Based upon information learned by the defendant and her counsel over the past

   weekend, the current briefing and hearing schedule on her motion to revoke detention would

   not allow her to attend the funeral services for her mother. Although her family has delayed the

   funeral in hopes that the Ms. Malinek will be granted permission to attend, she has recently

   learned that the mortuary services provider can no longer delay viewing and disposition of her

   mother’s remains beyond the date of May 19, 2020. This means that a release from custody on

   or after May 22, 2020 (the date of the status hearing for the defendant’s pending motion) would

   be too late for her to participate in the funeral services.

           The US Code of Federal Regulations provides for a defendant to petition the Court for

   an emergency furlough in this precise situation. See 28 CFR §551.109(b). “In an emergency,

   staff shall facilitate contact with the pretrial inmate’s attorney of record, who may seek from

   the court a decision concerning release from custody or an escorted trip.” Id.

           Although the defendant still maintains that she should be granted full pretrial release

   for the remaining pendency of her case, as stated in her previously-filed motion to revoke

   detention, she also requests a temporary furlough for the purpose of attending her mother’s

   funeral. A temporary furlough or escorted trip would also be appropriate to allow her to visit

   her dying father, who is unlikely to survive until her previously-filed motion can be heard and

   decided by the Court.




                                                    -2-
Case: 1:19-cr-00277 Document #: 50 Filed: 05/18/20 Page 3 of 4 PageID #:164




          WHEREFORE the defendant respectfully requests for this Honorable Court to enter

   an order granting an emergency furlough or escorted trip to attend her mother’s funeral.

                                        Respectfully Submitted,

                                        S/Robert L. Rascia/May 18, 2020
                                        ROBERT L. RASCIA, ARDC No. 6184470
                                        Attorney for the Defendant
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                                                 -3-
Case: 1:19-cr-00277 Document #: 50 Filed: 05/18/20 Page 4 of 4 PageID #:165




                                 CERTIFICATE OF SERVICE

           I, ROBERT RASCIA, deposes and states that, on this 18th day of May, 2020,
   I have served notice of the foregoing to Assistant United States Attorney Christopher Parente,
   via ELECTRONIC FILING.

                                        s/Robert L. Rascia/May 18, 2020
                                        ROBERT L. RASCIA, ARDC No. 6184470
                                        Attorney for the Defendant

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